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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

In re:                                                  Chapter 11

WILLIAMS INDUSTRIAL SERVICES                            Case No. 23-10961 (BLS)
GROUP INC., et al.,1
                                                        (Jointly Administered)
                          Debtors.
                                                        Ref. Docket Nos. 33, 83, 196

                       DECLARATION OF STEVEN E. BIRCHFIELD
                     IN SUPPORT OF THE DEBTORS’ SALE MOTION
                  AND ENERGYSOLUTIONS NUCLEAR SERVICES, LLC’S
                  ADEQUATE ASSURANCE OF FUTURE PERFORMANCE

         I, STEVEN E. BIRCHFIELD, hereby declare that the following is true to the best of my

knowledge, information, and belief:

         1.      I am the Chief Financial Officer of EnergySolutions Nuclear Services, LLC (the

“Buyer”) and submit this declaration (the “Declaration”) in support of the above-captioned

debtors’ sale motion [Docket No. 33] (the “Sale Motion”) and Asset Purchase Agreement, dated

July 22, 2023, by and among the Sellers, Buyer, and EnergySolutions, LLC (as may be modified

and/or amended from time to time, the “Purchase Agreement”),2 including to demonstrate a

sufficient showing of adequate assurance of future performance by the Buyer.

         2.      Except as otherwise indicated, all statements in this Declaration are based on

(i) my personal knowledge and discussions with members of the Buyer’s senior management and


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
    (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
    Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925),
    Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power
    Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG
    Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
    Ashford Center N, Suite 425, Atlanta, GA 30338.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Purchase
    Agreement, or the Sale Motion, as applicable.
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other professionals, (ii) information provided to me by employees working under my

supervision, (iii) my review of relevant documents maintained and controlled in the ordinary

course of business, and (iv) my review of the above-captioned debtors and debtors in

possession’s (collectively, the “Debtors”) business. If called upon to testify, I would testify

competently to the facts set forth herein.

       3.      On July 22, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the in the United States Bankruptcy Court for

the District of Delaware (the “Court”).

       4.      On the Petition Date, the Buyer entered into the Purchase Agreement with certain

of the Debtors, subject to higher and better offers, to purchase the Transferred Assets free and

clear of all Liabilities and Liens (other than Assumed Liabilities, Liens created by Buyer, and

Permitted Liens).

       5.      Buyer at all times negotiated with the Debtors and their professionals in good

faith and at arm’s length. Neither Buyer nor an affiliate of Buyer is an insider (as defined in

section 101(31) of the Bankruptcy Code) of the Debtors, and neither Buyer nor any affiliate of

Buyer has or holds any debt or equity interests in the Debtors.

       6.      The Purchase Agreement contemplates that at the Closing, Buyer will pay all

Cure Costs in connection with the assumption and assignment of the Assumed Contracts (subject

to the Cure Cap). From and after the Closing Date, Buyer intends to perform under all of the

Assumed Contracts assigned to it as required under section 365 of the Bankruptcy Code.

       7.      On August 22, 2023, the Debtors filed the Notice to Contract Parties to

Potentially Assumed Executory Contracts and Unexpired Leases [Docket No. 203] (the “Cure

Cost Schedule”), which included a schedule of proposed Cure Costs that would be owed to


                                                2
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non-debtor counterparties to the Assumed Contracts if a potential executory contract or

unexpired lease became an Assumed Contract.3

        8.       Buyer, through its parent company, EnergySolutions, LLC, has sufficient

resources available to it to (i) pay the Cure Costs set forth in the Cure Cost Schedule (in the

event an executory contract or unexpired lease becomes an Assumed Contract) and (ii) meet its

post-Closing obligations under any Assumed Contracts as they become due. On a consolidated

basis with its parent company, EnergySolutions, LLC, Buyer has a trailing twelve month revenue

as of June 30, 2023 (last completed quarter) in excess of $550 million with a current liquidity

amount in excess of $90 million as of August 24, 2023.

        9.       Buyer’s parent company, EnergySolutions, LLC, is an established international

nuclear services company with more than 15 years of experience in managing operations similar

to those of the Debtors with operations in over 40 states and throughout Canada and Japan.

        10.      Based upon the foregoing, I believe the Buyer has sufficient existing and expected

capital to pay Cure Costs in respect of the Assumed Contracts and continue operating the

Transferred Assets for the foreseeable future.              Accordingly I believe that there has been

sufficient showing by Buyer of adequate assurance of future performance.

        11.      In addition, throughout the sale process, Buyer has not colluded or conspired with

any other bidder to fix the price of the assets. Finally, Buyer’s payment of the purchase price of

the assets is made in good faith and for valid business purposes and uses.



                                         [Signature Page Follows]


3
    Pursuant to the Purchase Agreement, Buyer maintains certain rights to designate additional Available Contracts
    to the list of Assumed Contracts and to remove from such list any Available Contracts previously designated as
    an Assumed Contract prior to the applicable designation deadlines. Buyer would not have agreed to the
    transactions set forth in the Purchase Agreement without such designation rights.
                                                        3
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Signed pursuant to 28 U.S.C. § 1746 and under penalty of perjury this 31st day of August 2023.

                                                   /s/ Steven E. Birchfield
                                                   Steven E. Birchfield
                                                   Chief Financial Officer
                                                   EnergySolutions Nuclear Services, LLC




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